Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 1 of 19

EXH|B|T A

MAR-SU-ZUH THU 03:24 PM PLEASANTVILLE CHECK CASHING FAX:16096418383

 

Case 2:17-CV-O1162-RCI\/| Document 1-1 Filed 04/07/17 Page 2 of 19

P. 001/018

ll l 1-2<3\ -3?> 31

JLNERBAUH WURGLIT BICKS
KLBN WTKSTRDM & SININS

505 Horris Avenua

second Floor

$pringfield, NU 01081

(973} 3?9~4200

Attorneys for Plainti£f
ettorney I.D. No.: 029901§39

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: MIDDLESEX COUNTY

 

Plaintiff

ABDUR RAUF BAKALI, AS ADMINISTRATRIX OF Dockét Nb. MID-L-1486rl7
THE ESTATE OF OSMAN M. BAKALI

vs. . CIVIL ACTION

Defendants

GLENN A. JONES, EAGLE EXPRB$S LINES
INC., and ABC CORPS l-lO intending any Stan£ngS
brokere, shippers, statutory employers,
freight forwarders, or any other entity
that owned or operated the subject
traotor trailer or was involved in any
way whatsoever in the transport of
goods and/or the hiring of EAGLE
EKPRE$S LINES INC., its driver, or any
other party involved in the subject
transport

FROM THE STATE OF NEW JERSEY, To The Defandant(e) Named Above:
Glann llll Jones

The plaintiff, named above, has filed a lawsuit against you in the Supurior Court
of New Jersey, The complaint attached to this summons states the basis for this law$uit.
IE you dispute this oomplaint. you or your attorney must file a written answer or motion
end proof of service with the deputy clerk of the Superior court in the county li$ted
above within 35 days from the date you received this summOHH, not ¢Qunting the date YOU
received it. (A directory of the eddre$oes of each deputy clerk of the Superior Court
is available in the Civil Division Management Of:ioe in the county listed above and online
at http:!/wuw.judiciery.state.nj.ue/proee/l$lSB_deptyolerklawref.pdf.5 I£ the complaint
is one in foreclosure. then you must file your written answer or motion and proof of
service with the Clerk of the Superior Court, Hughes Juetice Complex, P.O. Box 971¢
rrenton, NJ 08625- h filing fee payable to the Traasurer, State or New Jereey and a
completed Case Information Statement tevailuble from the deputy clerk of the Superior
Courtl moot accompany your answer or motion when it is filed. You must also send a copy
of your answer or motion to plaintif£'s attorney whose name and address appear above, or
to plaintiff, if no attorney is named abovu. A telephone call will not protect your
rioh¥s: you must file and serve a written answer or motion [with fee of 5175.00 end
completed Caoe In£ormetion Btacement) if you want the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court
may enter a judgment against you for the relief plaintiff demands, plus interest end costs
of suit, lf judgment is entered against you, the sheriff may seize your money. wages or
property to pay all or part of the judgment.

lt you cannot afford an Attorney. you may call the Legal Serviceo office in the
county where you live or the Legal Services of New Jersey Stetewioe Hotline at leBBB-LSNJ-
LAW (14888-5?6-5529). l£ you do not have on attorney and ore not eligible for free legal
assistance, you may obtain a referral to en attorney by calling one of the bowyer Referrel
Services- th directory of the addresses of each deputy clerk of the Superior Court ia
available in the Civil Division Manaqemout Otfice in the county listed above end onliné
at http://www.judicia:y.state.nj.usfproee/lu153_oeptyclerklewref.pdf.)

DATED: March Zl, 2017

. ZH!

Michelle M. Smith
Clerk of the Superior Court

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 3 of 19

MAR-BU~ZUIV THU 03:24 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 002/018

Ba Served: Glenn A. Jones
§§§€e;§ §§f§;{fi;§:la:: to 3a Se:ved: 118 Bou':h Chestsr Avenue-Front:, Pleasantville NJ

032§2-

 

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 4 of 19

 

 

 

 

MAR-30-2017 THU 03:25 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 1003/018

v A wURc;AFT H 143 KAHN wm Ro NI s "» FNWER!U-'M'.

gg:§:ru¥?s Avenue»s:(i:te 200 ST M & 51 N WHDEESEJ¢-'.wml'iivii;§"

i§:;?g§::i:‘zot _ _ mm o A q

L;.:;::§§B;L.T§:CI;;. Lawre.-nc:e M. 551an (O?.QBOZLS-B§NLED&RECEWED.#¢

ATToP.NEY F'oR PLMN'IIFF

ABDLJR RAUF BM:ALI, As : SUPERIC>R coUP.T oF NEw JE'.RSEY

ADMINI$TRATRIX oF THE ESTATE = L:Aw D;r.vmszom: MIDDLE$BX couN'ry

oF osMAN M. BAKALI, nocr<:E'J: No.: mo‘&ee 1_6

Plaintiff, :
‘ CIVIL ACTION
'VS . ‘.
CQMPLLINT AND JUR¥ DEMMND

GLENN A. JONES, EAGLE EXPRESS
LINES INC., and ABC CORPS 1“10 1
intending any brokers,
shippers, statutory employers,
freight forwarders. or any
other entity that owned or
operated the subject tractor
trailer or was involved in any
way whatsoever in the
transport of goode and/or the
hiring of EAGLE ExPRESs LINES
INC., its driver, or any other
party involved in the subject
t ran.‘_=’,pc) rt ,

 

le cc vi

Defendants.

Abdur Rauf Bakali, as Administrator of the Estate of Osman
M. Bakali, by and through his attorneys, JAVERBAUM WURGAFT HICKS
KAHN WIKSTROM § SININS, P.C. by way of Complaint against

Dofendants says:

FIB$T COUNT

1- At all times plaintiff Abdor Rauf Bakali was named

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 5 of 19

MAR-3U-2[]l7 THU 03:25 PM PLEASANTVILLE CHECK CASHING FAX216096418383 P. 004/018

 

 

 

 

 

Administrator of the Estate of Osman M. Bakali by the Probete

Court of Butler County, State Of OhiO.

l. At all times relevant, decedent Osman M. Bakali,
operated a 2015 Toyota Cemry.

2. At all times relevant, Defendant GLENN A. JONES,
residing in Pleasantville, New Jersey, was the operator of a 2014
yolvo tractor trailer.

3- At all times relevant Defendant, EAGLE EXPRESS LINES

INC., was a privately held corporation with trucking operations

 

offices in South Holland, Illinois-

l 4. At all times relevant Defendant, EAGLB EXPRESS LINES
INC., as a motor carrier duly registered with the United States
Department of Transportation,. was assigned a DOT number and

§ designated an agent for service of process in all fifty states.

5. At all times Defendant, EAGLE EXPRESS LINES INC.
de$ignated an agent for service in New Jersey in Old. Bridge,
Middlesex County, New Jersey, where venue herein is lain.

6. At all times relevant_. Defendant EAGLE EXPRESS LINES
INC., did own the aforedescribed 2014 Vblvo tractor trailer.

7. On or about Jnly 16, 2016 at approximately 9:05 AM, at
I'-”iO West Bound in Fa_llowfield Township, Wash:`l_ngton County, New

Jersey, the above-described tractor trailer struck the decedent

 

who had exited his above described vehicle.

MAR_SU‘QUI'Y THU 03125 PM PLEASANTVILLE CHECK CASHING FAXZI@UQ@418383 P. 005/018
_ 3
8. Said accident was a direct and proximate result of the

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 6 of 19

 

 

negligence and carelessness of Defendants, without any negligence

on the part of Plaintiff.

9.

employee of

operated his

a)

b)

C)

d)

e)

f)

g)

h)

Defendant GLENN A. JONES, as a direct and/or statutory

defendant EAGLE EXPRESS LINES INC. negligently
vehicle by:

Following too closely behind the vehicles in front of
him:

Failing to ensure that he had adequate line of sight
cf other vehicles and obstructions in his path;
Failing to keep a proper lookout for warnings, other
vehicles, pedstrains, hazards, and obstructions;
Failing to ensure that he had adequate stopping
distance to avoid hitting vehicles or their occupants
or pedestrians in front or next to him;

Failing to ensure that he had adequate maneuvering
room to avoid hitting vehicles or their occupants or
pedestrians in front, next to him, or in his path of
travel;

Driving at an excessive rate of speed;

Operating his truck without adequate training and
experience;

Operating his truck in violation of hours of service

roles pursuant to 49 CFR 395 et. seq.;

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 7 of 19
MAR-30-2017 THU 03:25 PM PLEASANTVILLE CHECK CASHING FAX:IBUQBMSBSB P. 006/018

 

4

ij Failing to record his duty status in dnplicate, for a

24 hour period prior to the accident;

j) Failing to ensure, pursuant to 49 CFR 392.7, prior to
operating his vehicle that the vehicle was in safe
operating condition:

k) Operating a vehicle in violation of 49 CFR 392.3 when
his ability or alertness is impaired. or likely to
become so due to fatiqoe, illness ,or other causes;

l) Operating a vehicle while using a radar detector in

 

violation of 49 CFR 392.71;
md Operating a vehicle in violation of 49 CFR 391.21 for
failing to disclose to his employer all prior motor
l vehicle accidents for a period three years prior to
the accident date;
n) Pailed to pay attention to the road ahead;
o) Failed to be diligent at all times;
lO. That as a result of the aforementioned negligence and
carelessness of the defendants, decedent Osman M. Bakali was
severely and permanently injured, and did thereby sustain great
pain and suffering, loss of engagement of life, suffered serious
and permanent injuries which caused him conscious pain and
suffering and led to his ultimate demise, and did thereby suffer
other losses and damages as a direct and proximate result of the

conduct of the Defendants, including bills and expenses for

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 8 of 19

MAR-BU~ZUW THU 03:25 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 007/018

 

 

5

medical and hospital treatment and funeral expesnes, and further,
as a result of Said wrongful death of decedent, his dependents
and beneficiaries suffered and are entitled to economic damages
purauant to Green v. Bittner»

WHEREFORE, Plaintiff, Abdur Rauf Bakali, as administrator of
the E$tate of Osman M- Bakali, demands judgment against the
Defendants, GLENN A- JONES and. EAGLE EXPRESS LINES INC., for
damages together with costs and interest.

SECOND COUNT
VICARIOUS LIABILITY

1. Plaintiff repeats and reallegee the allegations of the
First Count as if same were set forth more fully at length herein.

2, During the scope and course of his employment with
defendant BAGLE BXPRESS LINES INC., defendant GLENN A. JONES
breached his duty to drive a motor vehicle on a public highway in
such a manner that he could stop in time to avoid a collision
with an object in his range of vision and/or within the area
lighted by bia headlights.

3. The negligence, careleaa, and wrongful acts of its

employees are imputed to defendant EAGLE EXPRESS LlNES INC.

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 9 of 19

MAR-3U-2017 THU 03:26 PM PLEASANTVILLE CHECK CASHING FAX:1609@418383 P, 008/018

 

 

 

 

6

4. At all times defendant GLENN A. JONES was acting in the
scope and course of his employment with defendant EAGLE EXPRESS
LINES INC.

5. By reason of the foregoing, decedent Osman M. Bakali
was severely and jpermanently injured, and did thereby sustain
great pain and suffering, loss of engagement of life, suffered
serious and permanent injuries which caused him conscious pain
and suffering and led to his ultimate demise, and did thereby
suffer other losses and damages as a direct and proximate result

of the conduct of the Defendants, including hills and expenses

 

for medical and hospital treatment and funeral expenses, end
further, as a result of said wrongful death of decedent, his
dependents and beneficiaries suffered and are entitled to

1 economic damages pursuant to Green v. Bittner.
WHEREFDRE, Plaintiff, Abdur Rauf Bakali, as Administrator of
l the Estate of Osman M. Bakali, demands judgment against the
Defendant$, GLENN A. JONES and EAGLE EXPRESS LINES INC. for

damages together with costs and interest.
TBIRD COHNT
NEGLIGENT HIRING

l. Plaintiff repeats and realleges all allegations of the
First and Second Counts as if same were set forth xnore fully

herein`

 

2. Defendant BAGLE EXPRESS LINES INC. owed the general

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 10 of 19

MAR-3U-QUI7 THU 03:26 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 009/018

 

public, including the plaintiff, a duty to determine the
qualifications of its employees including but not limited to:
a) Adequately evaluating applicants before hiring them
as truck drivers;
b) Adequately training and supervising these drivers;
c) Adequately evaluating these employees' job
performance so as to discharge any incompetent or
negligent employee before he injured the public or
property;

d) Pursuant to 49 CFR 382.20l et- seq., 382.301 et.

 

seq., 383.35, and 391 et. seq., conduct and adequate
investigation or inquiry into the driving record of
GLENN A. JONES;

3. EAGLE EXPRESS LINES INC. breached these duties to the
general public, including the plaintiffs, by its negligent and
careless training, hiring, training, supervision, and retention
of GLBNN A. JONES, who was unqualified, incompetent, and/or
negligent and careless.

4. As a direct and proximate result of the negligence,
careless, and wrongful acts Of defendant EAGLE EXPRESS LINES INC.
decedent Osman M. Bakali was severely and permanently injured,
and did thereby sustain great pain and suffering, loss of
engagement of life, suffered serious and permanent injuries which

caused him conscious pain and suffering and led to his ultimate

 

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 11 of 19

MAR~SU-QUH THU 03:26 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 010/018

 

8

demise, and. did thereby suffer other losses and damages as a
direct. and. proximate result of the conduct of the Defendants,
including bills and expenses for medical and hospital treatment
and funeral expenses, and further, as a result of said wrongful
death of decedent, his dependents and beneficiaries suffered and
' vare entitled to economic damages pursuant to Green v. Bittner.
WHEREFORE, Plaintiff, Abdur Rauf Bakali, as administrator of
| .
the Estate of Osman M. Bakali, demands judgment against the

` Defendant EAGLB EXPRESS LINES INC. for damages together with

‘ costs and interest.

M
' FICTITIGUS PARTIES

1. Plaintiff repeats and realleges all allegations of the
First, Second, and THIRD Counts as if same were set forth more
fully herein.

2. At the present time, plaintiff is unaware of the
identity of any other motor carrier involved in the underlying
transport of goods, and similarly, is unaware of the identities
of the broker and shipper involved in the underlying transport,
unaware of any other' employer' of the defendant truck driver,
statutory or direct, unaware of any freight forwarders, and
unaware of any other parties involved in the ownership and

operation of the subject tractor trailer or the underlying

 

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document1-1 Filed 04/07/17 Page 12 of 19

MAR-BU-ZUW THU 03:26 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 011/018

 

 

transport of goods.
3. To the extent any fictitiously named party is

negligent, careless, reckless, or vicariously liable for the

negligence, carelessness, or recklessness of another party, all
rights are reserved to amend the Complaint to name said

fictitious entity as a direct defendant.

JAVERBAUM W RGAFT H_ KS KAHN
WIKSTROM SININ , P.C.
Attorne a' tiff(s)

Lawrenoe M. S:Lr`r\tc'n-r""'"l

  
  

 

 

Dated: March 10, 2017

JURY DEMAND
Plaintiff hereby demands a trial by jury as to all issued so
triable.
JAVERBAUM GAFT HIC 3 KAHN

WIKSTROM & ININS .
Attorney or Pl n ff(s)
f

 

Lawrence M. SimOn
Dated: March 10, 2017

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 13 of 19

MAR-SU_QUI? THU 03:26 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 012/018

 

] _ _ ' , ' 10
CERTIFICAIION AS TD REDACTION OF REQFIRED PER$ONAL IDENTIFIERS

§ I certify that confidential Personal identifiers have been
redacted from documents now submitted to the court, and will be
redacted from all documents submitted in the future in accordance

with Rule 1:38“7(b]

JAVERBAUM GAFT HI
KAHN WIKS OM &§§EN S, P.C.
i iff(s)

   

 

 

Law¥ence M. Sidd&r-B§q.
March 10, 2017

DESIGNLTION OF TRIAL COUNSEL

Pursuant to Rule 4:25-4, you are hereby notified that
Lawrence M. Simon, Esq. is hereby designated as trial counsel in

the within matter-

 

By:

 

Lawrenoe M. Simon

Dated: March 10, 2017

DEMLND FDR INTERRDGAEORIES

DEMAND is hereby made of Defendant for certified answers to
Interrogatories Form C and C(l) of Appendix II within the
prescribed time set forth in the Rules of Court.

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 14 of 19

 

MAR-BU-ZUI'/ THU 03:27 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 Pl 013/018
' 11
JAV“ERBAUM cream HJ;cKs KAHN

   

wIKSTROM & NINS, C.
Attorney or E_ iff{s)

 

Lawrence M. S£mgg“ _____
Dated: MarCh 10, 2017

DEMAND FOR DISCCVERI OF INSURANCE CQVERAGE

 

Pursuant to R- 4:10~2(b), demand is made that Defendant(s)
disclose to plaintiff’s attorney whether or not there are any
insurance agreements or policies under which any person or firm
carrying on an insurance business may be liable to satisfy part

or all of a judgment which may be entered in this action or

 

indemnify or reimburse for payments made to satisfy the judgment
and provide plaintiff's attorney with true copies of those
insurance agreements or policies, including, but not limited to,
l any and all declaration sheets. Tnis demand shall include and
cover not only primary coverage, but also any and all excess,

catastrophe and umbrella policies.

JAVERBAUM RGAFT ICKS KAHN
WIKSTROM & NINS, .C
Attorney or Plainti f

  
 

 

Lawrence M. Simonk»~_iw~
March 10, 2017

 

 

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 15 of 19

MAR-BU-ZUI? THU 03:27 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P. 014/018

 

 

CERTIFICATION PURSUANT TQ 354:5“1

1. I hereby certify that the matter in Controversy is not
the subject of any action pending in any court Of a pending
arbitration proceeding.

2. There is no other action or arbitration proceeding
contemplated, nor is there any other party who abould be joined
in this action.

3. A related action will likely be filed by counsel for
Marcus Bakali, a passenger in decedent's vehicle.

4. l hereby certify that the foregoing statement is true
and I am aware that if the foregoing statement is willfully
false, l am subject to punishment-

JAVERBAUM __ URGBF _ HICKS KAHN
wiseman alma , '.c.
Attorne f;r Pla` tiff($)

/

Lawrence M. Simcn

   

Dated: March lO, 2017

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document1-1 Filed 04/07/17 Page 16 of 19

 

 

 

 

MAR-BU-ZUW THU 03:27 PM PLEASANTVILLE CHECK CASHING FAX:1609@418383 P, 015/018
'. n §gn£ndil§!l-Bl

b mm m .mmmm m.mm M

1l (Cls) cme¢»<m.

) Use for initial l..aw Divi$inn AMouN'r:

civii Par\ pleadings (not motions under eula 4:5-1
Fleading w}ll be rejected for Hllng, under Rula 1:5-6(1:), mmawem
if infonnatlon above the black bar ls not completed

 

 

 

 

 

 

 

 

 

 

or attorneys slgnatm is not added BA"'WM

ATFORNEYIPRUSE NAME TELEPHDNE NUMBER GQWVOFVENUE

LAWRF_NCE M. simon ssa amy 379-4200 medium

FIRM NAM’E (H oppdhtnb|o) DDCKIT NUMEIER (\men avnnsbla)
JAvsRaAuM wunsm='r H»cvcs man w¢KsTRoM s. simms P.c:. n 1 4 35 135
OFFWE ADDRESS DOCUMENT TYPE

sos Monms AvENue. seems noon cowme

spmNeFlELD, m 07031

JuRY DEMAND l YEG |:] No

 

 

 

 

 

 

NAME OF»' PART¥ (a`g__ .lodn Doe. 191an CAPT|QN
ABE>UR RAUF BAKALL AS ABDUR RAUF EN<AL|, AS ADM|N|STRA'IT-ZD( OF THE ESTATE OF
ADM!N|STRATRIX OF THE ESTATE OSMAN M. BAKALI. PL.A|NT|FF v. GLENN A. JONES. EAGLE
C)F OSMAN M. BAKALI. PLAINT|FF EXPRESS LINES |NC., et. al.
CASE TYF‘E NUMBER HuRR|cANE SANDY
(see reverse side for listing; RELATED? usn-us A PRoFEssloNN. mLPRAc‘ncE cas-57 13 vEs l Nc>
503~ 73 "’55 - N° lF vou HAVE CHE¢:KF.D "YES.' SEE N.J.sa. 2A:.53 A'z? mo APPLICABLE cAsE LAW
R§_¢__sARoms voun Wnou 'n:> FxLEAN AFFlmAvn‘ OF MER!T.
RELATED cAsEs PENDING? \F YES. L¢ST DOCKET NUMBERS
|:I Yss l No
no you AmlclPA'rE mDmGANY PAFmEs NAME oF DEFENDANT'S PNMARV INSURANCE COMPANY t|f Imown)
(arhing our o! some hamm or occu¢runce)? [] NcNE
El 'Ysa l No l lamova

 

     

 

 

 

 

    

 

 

 

 

radach from all documents future ln accordance with Mc 1:$$-7{11}.

imiymat confidential p¢m;zi;mdr m bean miach from documents nw suhmmodw the oo@`hm be

 

A'|TDRNEY SHGNATUREE

 

 

 

/ \"\-\_¢-'"
Ef'ocllv¢ 10»'01/2016. CN10517 WB10f2

.......,_..._._._..___.....__..__._
l DO PARTIES HAVE A CL|RRENT, PAST OR lI'-' YEB, 18 THAT m‘|'\DNSI-!IP:
§ REGURF"ENT F¢ELAT'ONSH|P? El sum I:| Fmam'hlanmn El O'n-en temlain)
§ lj] Yss l No E\ qu.w. EI Busmess
DOES THE ST.ATUTE GOV'B%|TNGTH(S CASE FROWDE FOR FAYMENTOF FEEB BY THE LQ$!NG PAR"IY? E Yl:$ l No
USE TH!$ SPADE TDN_ERT THE COURTTU ANY SFEE»IALCASE CHARACTERIST|CS THAT MAYWARRANT |NDMDUAL MAMGEMENT
ACCELERATED DlSPOSlT|ON ~
61 unmmvounwsmnzeommsmmamnmnmons? wwsvz.£.\selueml-'vw momwool£\¥anz§w
E| Yss l No -.
mmm'rm'rmazmemsu? irvss.FonHATmnsumt?
\ m YF'$ . /9'
1
|

 

 

 

Case 2:17-CV-01162-RCI\/| Document1-1 Filed 04/07/17 Page 17 of 19

MAR-BU'QUIV THU 03:27 PM PLEASANTVILLE CHECK CASHING FAX116096418383 P, 016/018

 

ClVlL CASE lNFORMATlON STATEMENT

(cls)
Use for initial pleadlr@s (not mtiom) under Rm'ad:B-i

 

 

CASE. TYPES (Choose one and enter number of case type in appropriaoe space on the reverse slde,)

mck l - 150 day¢' dhcowl¥
151 NAME CHANGE

115 PC)RFErTuRE

302 TEN¢\NSY
395 REAL PROPEHTV (otlwrll'mn‘l'umncy, Curlo'acl. Cnndemnndm. 615th mm or Conmudlon)
502 BOOK AOCOL|NT loew coll'¢dh¢\mmrs mmrsmly)
505 OTHER lNSuR.N-JCE GU\|M (lndudl dndamovy udgmnnta:!iom)
506 PlP COVERAGE m 1
510 UM or UlM CLNM (el:mraga ma unly)
511 A!DTION ON NEGOTMBI£ le‘rFllJME|\|'|'
512 LEMC!N LAW
301 SUMMARY ACT|DN
302 EPEN PUBIJC FEGORDS ACT medium

‘ 999 OTHER qbr|¢lty deeming nature doodon)

Tmck ll - 300 days' di$eov¢l"y
305 GONSTRUCT|ON
509 EMPLOYMENI' (a\hor than CEPAor LAD)
599 CQN'IRACTICOWERCLAL TRAN‘SAC*HDN
BDSN AUTD NEGL|GENCE -» PER$ONAL lNJLlRY (mn-nr!ml mm
603`( NJTO NE‘£GL|GENDF. --PERSONAL lNJUR¥ (verbal mmh¢>ld)
605 PERSDNAL lNJLJRY
810 v NJTO NEGHGENCE - PROF'ER`|Y DAMAGE
l 1521 uM or ull.l CLAIM Gncludes bodily ihj\.lry)
699 ‘l‘DN“r ~ OTHER

Tmck lll - 450 days’ discovery
005 C}V|L RlGl-|'|"S
301 UONDEMNAT|ON
502 A$$A|JLT AN`D BA'|'|'ERY
604 MED|GAL BMLPRAC“CE
606 PRODUCT LlAB|L-|TV
607 PRDFESS!CN£L MALPRACUCE
308 TOXIC TORT
509 DEFAMAT|ON
516 W}‘IISTLEBLOWER f GQNBCIENT]OUS EMPLO\'EE PROTECTION .ACT (CEF'A) ¢A.SES
617 INVE`RSE CONUEHNAT|ON
618 LAW AGNNST DlBCR|MlNA'|`JDN (LAD) CABEB

Tra¢k N - Ad.hro Clna Mnnlgamout by Md!vldull Judgl l 1150 days' discovery
1 56 ENWROM.*\EN'MUENV]RDNMEMTAL COVERAGE LFT}E°¢ATIDN

 

', 303 MT. LAUREL

l 508 C.`OMP|..EX CDMMEF¢C|AL

' 513 OOMPLEX CDNSTRLWUN

514 lNSURANCE FRAUD

620 FALSE C'LAWS ACT

701 AC`|'|ONS lN LlEU OF PREROGA'I`IVE WH|TS

Mult}ooum:y Litlgatim\ (T\'R¢k. lV)
:| 271 ACCUTANENWNUIN m PELV|C ldE$H/BARD
; 274 RLSP`ERDAUS EROQUEUZYPREXA 293 DEPUY ASR HlP IMPLANT LIT|GA'HON
281 BR|STol.-MYERB SQU|BB ENV|RONMENTAL 295 ALUDDERM REGENERATNE WSSUE MA`|'RD(
282 FOSAMAX 296 STRYKER RE.!UVENATEIABG ll M)DULAR HlP S'IEM GDMPONENTS
m BTRYKER TRIDENT HlP lMPLAN'TS 287 MlRENA mRAGEP'TWF. TWF.DEVICE
l 286 LEVAQU|N 289 OlME-SARTAN MEDOXQMFL HED|CA'|'\ONS/BENUCAR
5 287 YA,ZNASM|WOCELLA 300 TALC-BASED BODY PC)\NDEFB
` 289 REGLAN A$EESTQB

290 POMPTON LNCES ENV|RC|NMEN|'AL LmBATION H$ PROPEGM
291 PELV!C MES!'UG'YNE¢ARE

\fyoubonmthk:namquhulmmrwmnpmvldadm,pl¢mlnr,llqhm¢mmnonszn¢L
ln”\l¢mund.r”¢:lnmrlm,

Plaam checkoff each applicable category [:} Putntiva mass Actlon m Title 59

 

 

E.Hoctlve 10/01/2016. CN 10517 pavion

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 18 of 19

MAR-BU-ZUW THU 03:27 PM PLEASANTVILLE CHECK CASHING FAX:16096418383 P, 017/018

 

mDDLEsEx women cIv:cL ramson
P 0 Box 2633
55 PA'J:ERSON sTREET
saw amuser NJ 03903~2633
max nsSIGNMEN'r No'r:cs
coURT TELEPHONE No. ('732) 519-3728
comm norms s=ao m ~ 4:30 PM

mTr¢= man 13, nom
RB: R.AUF BAKALI ABDUR VS JONES GLEN'N
poem-n mn L -ool-zas 17
m now cass ins BBEN Ass:r:mac> 'ro= 'r:mcx 2.

DISCOVERY IS 300 DA`YS AN'D RUN$ FROM THE FIRST ANSWBR OR 90 ‘DA‘.{S
FROM BERVICE ON THE FIRST DEFENDANT, WHICHB’VB`R CONE$ FI_RST.

THE PRE'I'RIRL J'UDGE ABSXGNED IB: HON ANDREA CAR'I'BR
IF `YOU HA'VE ANY Q'O`EB'I‘IONS, CONTACT TBAM 003
A'.T,`: ('732') 519'3745 E)CT 3745.

IF YOU BELIEVE THAT THE TRACK IS mPPROPRIATE 'YOU MUS'I' F]'_T..E .A
CERTIFICATIDN OF GDOD CAUSE WI'l*HIN 30 DAYS ClF THE FILI,NG OF YOUR PLEADING.

PLAINT'IPF MUST SERV'E COPIES QF THT.S FORM ON ALL G'I'HER PARTIES IN ACCORDANCE
WI'I'H R.-§:SA-R.

 

A-r'rzm-xon=
mm mm u. amon
j smmmm mem mens m s
` 505 Mon.m:s Avsm:s
znm moon
simms-mm NJ ovoel

JUM§PB

 

 

 

 

 

 

Case 2:17-CV-01162-RCI\/| Document 1-1 Filed 04/07/17 Page 19 of 19

MAR-SU-QUW THU 03:28 PM PLEASANTVILLE CHECK CASHING

FAX:16096418383 P. 018/018

NJ SUPER|OR CGURT LAWYER REFERRAL-AND LE{`-.\AL SEF{V!CE LIST

ATLANT\E CG\JN'W:
Oeputy Chzrk. Superiol ¢our:
leil Division. U'lreci Filing

ESSEX COUNT‘\':
Oeputy Clmk. Sup:rior Coun
C‘Nii Customer S$Nice

MOHMOUTH COU!\!TY:
fmqu Clerk. Superil:\r C-oun »
Coun House

BUSSEX COUNTY:
Deputy CIen<, Superior
Cour¥.

1201 Be¢harach Blvd.. m FI. Han of Reonrds, Room 201 P. O. Box 1269 Sussex County Judvua\
A!|antic City, NJ 08401 465 Dr_ Martih tu'¢her King Jr_ Freehcld. N.I 07728-1269 Cenl,e\‘ '
LAWYER RE.FERRAL Btvd. LAWY`ER REFERRAL 43-4? H\gh Sta‘&et
{GDB} 345-3144 New‘an<. N.J 07102 (732) 431-5544 Namon. NJ D'¢'BBD
LEGN_ smc-ig LvaER REFF,RRA\_ LEGAL Sl=_vacEs LAwYER REFERRAL
(609) 345»4200 1973-1622-62011 (732) amozo may zsv.aue.z
LEGN_ SERVlCES LEGAL SERVlCES
` (973) 624-4500 (9‘)’3) 3!_33-7400
BERGEN COUNW: GLDUC$TER COUNTY: MORR|S COUN'\"Y: UNlON COUNT\’:
mp\m¢ Clerk, Super&w Coun tieva Clerk. Superior Bnu¢t Monis Counly Gommouse: Deputy Clerlc. Superior
Civi\ nwismn, nom 115 G'cvil Casn Managernen\ Dllice, C.ivi! Dluision Caun
Jusrice Genter, 10 Maln sx. Attn: lnt»ake. Firsx l-"L_ Coua Washb'lglon 8. Coun S!reets 1st Floor. Courl House
Had<ensack_ NJ 07601 House P. Cl. Hax 910 2 Bmd Street
|_AWyER REFERRN_ `l North Broad $treet Morr|stmm, NJ 0796'3-0910 .E.Iizabeth, NJ 07207-
LZ(,,WM.¢ Woodburv. NJ ososs LAWYER REFERRAL 6073
LEGAL SERV|cES LAW'*|"ER REF ERRAL {9?3} 2157‘5352 LAWYER REFERRAL
(201)487`_2166 (356] 643-453-9 LL'.GAL SERVlCES (QUB'} 353-41‘5
|.EGAL SERVICES {973) 285-6911 LEGAL $EFWTCES
{856) 843-5360 (908) 354-4340
BURL|NGTON COUNT¥: HUDSON C»DUM¥‘Y: OCEAN CQUHTY: WARREN ¢(JUNTY:
Deputy Cle¢k. Superior Dourt Depuly C'lerk. Superior Court Depuly Clm’k. Su;perlnr Cou¢t Daputy Cterk. Superior
Central Pm\:using Ol¥x:s C'M`l Ramrds Dept. Cm.lfl Hous¢. Rnom 121 Court
Atm: Judic:‘al lntak\a ~ Brenn=.m Conn chsa. 151 Floor 1115thin Sl¢eot Civi| Div`sion. Goun
Firsl Fl., C.'ouns F:ll::ilify 533 bleme Avenua F'.O, Bcoc2191 House
49 Ram:oc'as Road Jerssy C`rty, l\Li DT.$OB Toms RMI:', |‘\U 0375-1-219% 413 Seuond Street
M'L l-lnhy-. NJ O&DEO LAWYER REFERRAL LAW"¢'ER REFERRN_ BeMdera. NJ 07823»
LAWYEF! REFERRAL (201) 758-2727 {?32]2»1-0'3&56 1500
{509) 261-4862 LEGAL SER\J'\CES LEGAL SERVICES |_AWYER REFERRAL
LEGAL SER\HCE$ (201) 792-3363 (?32] 341-2727 {905) 559-4300
($09) 261-1053 I.EG.AL SERVlCES
(908) 415-2010
EAMDEN EOUNW: HLlN‘l“ERDON EQUNTY: PASSAIG CDUNTY: .

deputy C1ed<., Superil:»r Cuul‘£
civil Prou:s‘r»ing Ofl'\ca

06qu C|erk, Superior 00url
C'l\ril DMS§O¥\

Deputy mann Suparlor Cmm
Ci\n`l Divis'ron - Court House

Hail of.luslioe 65 Park Avamm.- Tl' rla-nilth Sm\e':

1°‘ FI` Suiie 150 Flemingcon, N..I 08822 Patersw. hLl 07505
101 Swlh S\h Sweel LAWYER REFERRAL lAWYER REFERRAL
Camden, N.l 08103 (RGS) 2365109 {973) 273-9223
LAWYER REFERRAL LEGN. SERV\CES LEGAL $ERV!CES
{&56} 4182»0613 (908) 782-7979 (9?3) 523-2900
LEGAL SERVICES _

(356) 964-201 0

CAPE MAY COuNTY: MERGER C‘:DBNTY: SALEM OOUNW:

ibeme Clerk. Superiol Court
9 N. Maifl Streei

Dcouty Clerk. Supor'\or Court
Lo€lili Fillng Offioe, Courthouse

Ciefk, Superior Gourl.
A‘ll.n: CMI Case Mansgemcnl

Cape May Cnur: I-Euus.e, NJ 175 S. Bmad Street Offloe
DM‘iU P, O. Bax 8063 92 Ma!ket $treei
LA\NYER REFERRN., Tren!.cn. N»J 08550 Salem. NJ 08079
{$09} 463-031 3 LAWYER REFERRAL LAWYER REFERRAI,.
LEG.AL SERVlCES (BO‘B} 585~6200 (B~SG} 935-5$29
(609} 465-3001 LEGAL SERVICES LEGAL SER\HCES
(609) 695-6249 (856) 691-0494
CUMBERLAND CC\L)M\': MlDDLESEX CO\}NTY: SOMERSET CDUNT‘{:
cwqu clem supeer court oequ chem superior Conn \Depury mm supen'm com
Civil Ca$e Managnment Olface Middlesex Vi::.iroag¢ C'w¥l Div‘uinn alice
60 Wes\ Bcoad mm Second Floor. Tuwer 40 North Bridga Su¢el
F'. O. BOX 10 55 Palel'$¢n S!feel F', O_ Bo:ll 3000
Bridgelon_ NJ GBSOI P. 0. Box 2633 Somem`lle. NJ 08876
LAWYER REFERRA|. New Emrmwid&. NJ 08903-2633 LA\NYER REFERRAL
{856} 698-5550 LAWYER REFERRAL {908) 535-2323
LEGAL SERV|CE$ 1732] 828-0053 L.i.-':GN. SERV|CES
(8531691 -0494 LEGAL SERV|¢.`.ES (SUB) 231-0840

(732) 249-7500

